













NUMBER 13-07-237-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________ _


ARTHUR LEE SOUTHWORTH,	Appellant,


v.



TINA RAMSHUR SOUTHWORTH,	Appellee.

__________________________________________________________ _ 


On appeal from the County Court at Law No. 4


of Montgomery County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion Per Curiam



	Appellant, ARTHUR LEE SOUTHWORTH, perfected an appeal from a judgment
entered by the County Court at Law No. 4 of Montgomery County, Texas, in cause number
05-02-01532-CV.  No clerk's record has been filed due to appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record.  

	If the trial court clerk fails to file the clerk's record because the appellant failed to
pay or make arrangements to pay the clerk's fee for preparing the clerk's record, the
appellate court may dismiss the appeal for want of prosecution unless the appellant was
entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).

	On June 28, 2007, notice was given to all parties that this appeal was subject to
dismissal pursuant to Tex. R. App. P. 37.3(b).  Appellant was given ten days to explain why
the cause should not be dismissed.  To date, no response has been received from
appellant. 

	The Court, having examined and fully considered the documents on file, appellant's
failure to pay or make arrangements to pay the clerk's fee for preparing the clerk's record, 
this Court's notice, and appellant's failure to respond, is of the opinion that the appeal
should be dismissed for want of prosecution. The appeal is hereby DISMISSED FOR
WANT OF PROSECUTION.

							PER CURIAM


Memorandum Opinion delivered and filed

this the 9th day of August, 2007.




